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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


 KEITH HOBBS, individually and on behalf
 of all others similarly situated,
                                                 Case No. 1:19-cv-10408-NMG
                       Plaintiff,
     v.
 COMMONWEALTH SERVICING
 GROUP, LLC, a Massachusetts limited
 liability company, and DMB FINANCIAL,
 LLC, a Massachusetts limited liability
 company,
                       Defendants.


     STEVEN L. WOODROW CERTIFICATION IN SUPPORT OF MOTION FOR
                     ADMISSION PRO HAC VICE
      Pursuant to Local Rule 83.5.3, I, Steven L. Woodrow, certify as follows:

      1.       I am a partner of the law firm Woodrow & Peluso, LLC, located at 3900 E.

Mexico Ave., Suite 300, Denver, Colorado 80210.

      2.       I am a member in good standing of the following courts:

           •   Supreme Court of Colorado – Admitted 5/11/2011
           •   Supreme Court of Illinois – Admitted 11/10/2005
           •   U.S. Court of Appeals for the Seventh Circuit – Admitted 3/28/2011
           •   U.S. Court of Appeals for the Ninth Circuit – Admitted 9/19/2012
           •   U.S. District Court for the District of Colorado – Admitted 9/7/2011
           •   U.S. District Court for the Northern District of Illinois – Admitted 1/12/2006
           •   U.S. District Court for the Eastern District of Michigan – Admitted 6/30/2010
           •   U.S. District Court for the Western District of Michigan – Admitted 4/8/2013
           •   U.S. District Court for the Western District of Wisconsin – Admitted 6/15/2016
           •   U.S. District Court for the District of New Mexico – Admitted 6/20/2016

      3.       I have reviewed and am familiar with the Local Rules of this Court.

      4.       I have not previously had a pro hac vice admission to this court revoked for

misconduct.
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      5.     There are no disciplinary proceedings against me in any jurisdiction.

      6.     I am familiar with the factual and legal issues in this case.

      I hereby certify that the above is true and correct to the best of my knowledge.



Dated: March 25, 2019                       By: /s/ Steven L. Woodrow




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